     Case 2:18-cv-02421-JFW-E Document 184 Filed 08/01/18 Page 1 of 2 Page ID #:3304



 1    COVINGTON & BURLING LLP
      Mitchell A. Kamin (Bar No. 202788)                          C. William Phillips (pro hac vice)
 2     mkamin@cov.com                                              cphillips@cov.com
      Neema T. Sahni (Bar No. 274240)                             620 Eighth Avenue
 3     nsahni@cov.com                                             New York, NY 10018-1405
      Mark Y. Chen (Bar No. 310450)                               Telephone: + 1 212-841-1000
 4     mychen@cov.com                                             Facsimile: + 1 646-441-9081
      Rebecca G. Van Tassell (Bar No. 310909)
 5     rvantassell@cov.com
      1999 Avenue of the Stars, Suite 3500
 6    Los Angeles, CA 90067-4643
      Telephone: + 1 424-332-4800
 7    Facsimile: + 1 424-332-4749
 8
      Attorneys for Defendant State of Qatar
 9
                           UNITED STATES DISTRICT COURT
10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION
11

12    BROIDY CAPITAL MANAGEMENT LLC                             Civil Case No.:
      and ELLIOTT BROIDY,
13                                                              2:18-CV-02421-JFW-(Ex)

14          Plaintiffs,                                         [DISCOVERY MATTER]

15                                                              NOTICE OF DEFENDANT STATE
            v.
                                                                OF QATAR’S MOTION FOR
16                                                              PROTECTIVE ORDER
      STATE OF QATAR, STONINGTON
17    STRATEGIES LLC, NICOLAS D.
18    MUZIN, GLOBAL RISK ADVISORS                               Honorable Charles F. Eick
      LLC, KEVIN CHALKER, DAVID MARK
19    POWELL, MOHAMMED BIN HAMAD                                Hearing Date: August 24, 2018
20    BIN KHALIFA AL THANI, AHMED AL-                           Time: 9:30 a.m.
      RUMAIHI, and DOES 1-10,                                   Amended Complaint: May 24, 2018
21                                                              Discovery Cut-Off: None Set
22          Defendants.                                         Pretrial Conference Date: None Set
                                                                Trial Date: None Set
23

24

25

26

27

28

                          NOTICE OF DEFENDANT STATE OF QATAR’S MOTION FOR PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 184 Filed 08/01/18 Page 2 of 2 Page ID #:3305



 1    TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE that, on Friday, August 24, 2018 at 9:30 a.m., or as
 3    soon thereafter as may be heard, in Courtroom 750 in the Roybal Federal Building and
 4    United States Courthouse, located at 255 East Temple Street, Los Angeles California,
 5    90012, Honorable Charles F. Eick presiding, Defendant State of Qatar will appear and
 6    move the Court for issuance of a protective order in this action.
 7          PLEASE TAKE FURTHER NOTICE that this motion is made following the
 8    conferences of counsel pursuant to Local Rule 37-1. Pursuant to Local Rule 37-2, the
 9    parties are concurrently filing herewith a Joint Stipulation Pursuant to Local Rule 37-2
10    Regarding Defendant State of Qatar’s Motion for Protective Order.
11

12    Dated: August 1, 2018                          COVINGTON & BURLING LLP
13
                                                     By: /s/ Mitchell A. Kamin
14                                                   Mitchell A. Kamin
15
                                                     Email: mkamin@cov.com
                                                     1999 Avenue of the Stars, Suite 3500
16                                                   Los Angeles, CA 90067-4643
17                                                   Telephone: + 1 424-332-4800
                                                     Facsimile: + 1 424-332-4749
18

19                                                   Attorneys for Defendant State of Qatar

20

21

22

23

24

25

26

27

28

                                                      1
                       NOTICE OF DEFENDANT STATE OF QATAR’S MOTION FOR PROTECTIVE ORDER
